Case 2:20-cv-13134-LVP-RSW ECF No. 71, PageID.3429 Filed 12/22/20 Page 1 of 4




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES
DAVID HOOPER, and DARREN WADE                No. 2-20-cv-13134
RUBINGH,
                                             HON. LINDA V. PARKER
      Plaintiffs,
v                                            MAG. R. STEVEN WHALEN

GRETCHEN WHITMER, in her official
capacity as Governor of the State of          DEFENDANTS’ EX PARTE
Michigan, JOCELYN BENSON, in her             MOTION TO EXCEED PAGE
official capacity as Michigan Secretary of       LIMIT FOR STATE
State and the Michigan BOARD OF STATE         DEFENDANTS’ BRIEF IN
CANVASSERS,                                  SUPPORT OF MOTION TO
                                                     DISMISS
      Defendants,

CITY OF DETROIT,

      Proposed Intervening Defendant,

ROBERT DAVIS,

      Proposed Intervening Defendant,

DEMOCRATIC NATIONAL
COMMITTEE and MICHIGAN
DEMOCRATIC PARTY,

     Proposed Intervening Defendant.
___________________________________




                                        1
Case 2:20-cv-13134-LVP-RSW ECF No. 71, PageID.3430 Filed 12/22/20 Page 2 of 4




Gregory J. Rohl (P39185)
Attorney for Plaintiffs
41850 West 11 Mile Road, Suite 110
Novi, Michigan 48375
248.380.9404
gregoryrohl@yahoo.com

Heather S. Meingast (P55439)
Erik A. Grill (P64713)
Assistant Attorneys General
Attorneys for Defendants
PO Box 30736
Lansing, Michigan 48909
517.335.7659
meingasth@michigan.gov
grille@michigan.gov

David Fink (P28235)
Attorney for Proposed Intervenor City of Detroit
38500 Woodward Avenue, Suite 350
Bloomfield Hills, Michigan 48304
248.971.2500
dfrink@finkbressack.com

Mary Ellen Gurewitz (P25724)
Attorney for Proposed Intervenor DNC/MDP
423 North Main Street, Suite 200
Royal Oak, Michigan 48067
313.204.6979
maryellen@cummingslawpllc.com

Scott R. Eldridge
Attorney for Proposed Intervenor DNC/MDP
One Michigan Avenue, Suite 900
Lansing, Michigan 48933
517.483.4918
eldridge@millercanfield.com

Andrew A. Paterson (P18690)
Attorney for Proposed Intervenor Davis
2893 East Eisenhower Parkway
Ann Arbor, Michigan 48108
248.568.9712
Aap43@outlook.com
                                                                       /


                                              2
Case 2:20-cv-13134-LVP-RSW ECF No. 71, PageID.3431 Filed 12/22/20 Page 3 of 4




  DEFENDANTS’ EX PARTE MOTION TO EXCEED PAGE LIMIT FOR
 STATE DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO DISMISS

      Now come Defendants Governor Gretchen Whitmer, Secretary of State

Jocelyn Benson and the Board of State Canvassers, by counsel, and request that

this Court allow Defendants to file a brief in response to Plaintiffs’ motion for a

temporary restraining order that exceeds the 25-page limit established by L.R.

7.1(d)(3)(A) for good cause shown in light of the important nature of this elections

case. In support thereof, Defendants state:

      1.     Plaintiffs’ Amended Complaint consists of 233 paragraphs and was

             accompanied by dozens of exhibits, totaling over 900 pages.

      2.     Because the legal questions before this Court are numerous and

             distinct and require the discussion of multiple factors, along with an

             application of the law to the facts, Defendants require additional pages

             to adequately make these arguments.

      2.     Defendant’s brief is 62 pages in length.

      WHERFORE, due to the important nature of this case and the legal

questions presented, Defendants’ request to extend the page length to 62 pages is

warranted and reasonable in this case.




                                          3
Case 2:20-cv-13134-LVP-RSW ECF No. 71, PageID.3432 Filed 12/22/20 Page 4 of 4




                                           Respectfully submitted,

                                           DANA NESSEL
                                           Attorney General

                                           s/Erik A. Grill
                                           Erik A. Grill (P64713)
                                           Heather S. Meingast (P55439)
                                           Assistant Attorneys General
                                           Attorneys for Defendants
                                           P.O. Box 30736
                                           Lansing, Michigan 48909
                                           517.335.7659
                                           Email: grille@michigan.gov
                                           P64713
Dated: December 22, 2020

                             Certificate of Service

I hereby certify that on December 22, 2020, I electronically filed the above
document(s) with the Clerk of the Court using the ECF System, which will provide
electronic copies to counsel of record.

                                           s/Erik A. Grill
                                           Erik A. Grill (P64713)
                                           Assistant Attorney General
                                           Attorney for Defendants
                                           P.O. Box 30736
                                           Lansing, Michigan 48909
                                           517.335.7659




                                       4
